AO 245C (Rev. 02/18) Amended Judgment in a Criminal Case
Sheet 1

(NOTE: Identify Changes with Asterisks (*))

UNITED STATES DISTRICT COURT

District of Massachusetts

UNITED STATES OF AMERICA
v.
DANIEL PETER GIBSON

Date of Original Judgment: — 12/17/2019

 

(Or Date of Last Amended Judgment)

Reason for Amendment:
C1 Conection of Sentence on Remand (18 U.S.C. 3742(f}(1) and (2))
(1) Reduction of Sentence for Changed Circumstances (Fed. R. Crim.
P. 35(b))
(C1 Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))

(1 Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)

THE DEFENDANT:
C1 pleaded guilty to count(s)

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AMENDED JUDGMENT IN A CRIMINAL CASE

Case Number; 1} 15 CR 10323 - 1 - IT
USM Number: 97061-038

Defendant's Attorney

C1 Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or 3583(e))
(] Modification of Imposed Term of Imprisonment for Extraordinary and
Compelling Reasons (18 U.S.C. § 3582(c){1))

YZ] Modification of Imposed Term of Imprisonment for Retroactive Amendment(s)
to the Sentencing Guidelines (18 U.S.C. § 3582(c){(2))

C Direct Motion to District Court Pursuant (] 28 U.S.C. § 2255 or
OO 18 U.S.C. § 3559(c)(7)

Modification of Restitution Order (18 U.S.C. § 3664)

 

(1 pleaded nolo contendere to count(s)

 

which was accepted by the court.

[b/ was found guilty on count(s) _ 1-2, 5

 

after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:

Title & Section Nature of Offense
26 U.S.C. § 7206(1) Filing a False Tax Return
26 U.S.C. § 7206(1)
18 U.S.C. § 371

Filing a False Tax Return

Conspiracy to Defraud the United States and Impede and Impair the IRS

Offense Ended Count
11/10/09 I
10/08/10 2
10/08/10 5

The defendant is sentenced as provided in pages 2 through z of this judgment. The sentence is imposed pursuant to

the Sentencing Reform Act of 1984.
(1 The defendant has been found not guilty on count(s)

 

(J Count(s)

 

Cis [Jare dismissed on the motion of the United States.

_. {tis ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

3/12/2020

 

Date of Imposition of Judgment

 

e _——~S a
gnature of Judge The Honorable Indira Talwani

U.S. District Court Judge

 

Name and Title of Judge

 

3/14 [2020

Date
AO 245C (Rev. 02/18) Amended Judgment in a Criminal Case

 

Sheet 2 — Imprisonment (NOTE: Identify Changes with Asterisks (*))
Judgment —Page _2 of T

DEFENDANT: DANIEL PETER GIBSON
CASE NUMBER: 1:15 CR 10323 -1 -IT

IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
total term of :

24 months on counts 1, 2, and 5 to be served concurrently.

w The court makes the following recommendations to the Bureau of Prisons:
The court recommends the defendant be designated to a facility commensurate with his security level that provides alcohol

abuse treatment and psychiatric care programs. The court recommends defendant participate in the BOP's Residential Drug
Abuse Program.

O ‘The defendant is remanded to the custody of the United States Marshal.

O The defendant shall surrender to the United States Marshal for this district:
Oat O am. O p.m. on
O as notified by the United States Marshal.

vi The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

O sbefore 2 p.m. on

 

Cs asnotified by the United States Marshal.
“ as notified by the Probation or Pretrial Services Office.

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on to
at with a certified copy of this judgment.
UNITED STATES MARSHAL
By

 

DEPUTY UNITED STATES MARSHAL
AO 245C (Rev, 02/18) Amended Judgment in a Criminal Case .
Sheet 3 — Supervised Release (NOTE: Identify Changes with Asterisks (*))

Judgment—Page _ 3 of é
DEFENDANT: DANIEL PETER GIBSON
CASE NUMBER: 1; 15 CR 10323 - 1 - IT
SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of :

2 years on counts 1, 2, and & to run concurrently.

MANDATORY CONDITIONS

You must not commit another federal, state or local crime.
You must not unlawfully possess a controlled substance.
3. You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
imprisonment and at least two periodic drug tests thereafter, as determined by the court.
C1 The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
substance abuse. (check if applicable}
You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)

(J You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, er seq.) as
directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
reside, work, are a student, or were convicted of a qualifying offense. (check jfapplicable)

6. ( You must participate in an approved program for domestic violence. (check ifapplicable)

Ne

we

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
AO 245C (Rev. 02/18) Amended Judgment in a Criminal Case

Sheet 3A — Supervised Release
Judgment—Page 4 oof 7

DEFENDANT: DANIEL PETER GIBSON
CASE NUMBER: 1: 15 CR 10323 -1 -IT

STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.

11.

12.

13.

You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
time frame.

After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed.

You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
the court or the probation officer.

You must answer truthfully the questions asked by your probation officer.

You must live at a place approved by the probation officer. [f you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
hours of becoming aware of a change or expected change.

You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer
to take any items prohibited by the conditions of your supervision that he or she observes in plain view.

You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change.

You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.

If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
tasers).

You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
first getting the permission of the court.

If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
person and confirm that you have notified the person about the risk.

You must follow the instructions of the probation officer related to the conditions of supervision.

US. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant's Signature Date

 
AO 245C (Rev. 02/18) Amended Judgment in a Criminal Case
Sheet 3D — Supervised Release (NOTE: Identify Changes with Asterisks (*))
Judgment—Page 5 of Z
DEFENDANT: DANIEL PETER GIBSON

CASE NUMBER: 4. 15 CR 10323 -1 -IT
SPECIAL CONDITIONS OF SUPERVISION

1. You must pay restitution imposed according to a court-ordered repayment schedule.

2. You must meet with the Internal Revenue Service within the first 60 days of the period of supervision in order to
determine your prior tax liability and you are to file tax returns and pay any past or future taxes due that are not covered by
the restitution order.

3. You are prohibited from drinking alcohol to the point of intoxication, as defined by Massachusetts State Law as a .10
blood alcchol level.

4. You must participate in a mental health treatment program as directed by the Probation Office.

5. You are prohibited from incurring new credit charges or opening additional lines of credit without the approval of the
Probation Office while any financial obligations remain outstanding.

6. You must provide the Probation Office access to any requested financial information, which may be shared with the
Financial Litigation Unit of the U.S. Attorney's Office, while any financial obligations remain outstanding.

7. You shall be required to contribute to the costs of evaluation, treatment, programming, and/or monitoring (see Special
Condition 4 ), based on the ability to pay or availability of third-party payment.
AO 245C (Rey. 02/18) Amended Judgment in a Criminal Case ; ;
Sheet 5 — Criminal Monetary Penalties (NOTE: Identify Changes with Asterisks (*))

Judgment — Page 7 of [
DEFENDANT: DANIEL PETER GIBSON
CASE NUMBER: 1; 15 CR 10323 -1  -IT
CRIMINAL MONETARY PENALTIES

The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment JVTA Assessment* _— Fine Restitution
TOTALS $ 300.00 $ $ 3 875,210.00
(The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be

entered after such determination.
The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
the priority order or percentage payment column below. However, pursuant to 18°U.S.C. § 3664(i), all nonfederal victims must be paid
before the United States is paid.

Name of Payee Total Loss** Restitution Ordered Priority or Percentage
Internal Revenue Service $875,210.00 $875,210.00
TOTALS g 875,210.00 $ 875,210.00

C1 Restitution amount ordered pursuant to plea agreement $

{¥] ‘The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

(1 The court determined that the defendant does not have the ability to pay interest, and it is ordered that:
(the interest requirement is waived for C) fine C] restitution.

(J the interest requirement forthe (fine C] restitution is modified as follows:

* Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
** Findings for the total amount of losses are reguires under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
AO 245C (Rev. 02/18) Amended Judgment in a Criminal Case
Sheet 6 — Schedule of Payments (NOTE: Identify Changes with Asterisks (*)}

Judgment-—-Page _ 7 of Z
DEFENDANT: DANIEL PETER GIBSON
CASE NUMBER: 1: 15 CR 10323 -1 -IT

SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:
A Y Lump sum payment of $ 300.00 due immediately, balance due

(J sonot Jater than ,or
O inaccordance with (] C, (J) D, QJ E,or ( F below; or

B ( Payment to begin immediately (may be combined with [J C, O D,or (J F below); or

C (0 Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or

D (© Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a

term of supervision; or

E ( Payment during the term of supervised release will commence within {e.g., 30 or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

x

Yv Special instructions regarding the payment of criminal monetary penalties:

Payments to begin within 30 days on a schedule to be approved by the court.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

OJ Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate.

(= The defendant shall pay the cost of prosecution.

O

The defendant shall pay the following court cost(s):

[] The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
